                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT MISSOURI

ALTERRA BANK,                                       )
                                                    )
               Plaintiff,                           )   Case No. 4:17-CV-00077-BP
                                                    )
       v.                                           )
                                                    )
INTERSTATE UNDERGROUND                              )
WAREHOUSE AND INDUSTRIAL                            )
PARK, INC. and HARRISONVILLE                        )
SENIOR CARE CENTER, LLC,                            )
                                                    )
               Defendants.                          )

  DEFENDANT INTERSTATE UNDERGROUND WAREHOUSE AND INDUSTRIAL
        PARK, INC.’S DISCLOSURE OF CORPORATION INTERESTS

       Pursuant to Fed. R. Civ. P. 7.1 Defendant Interstate Underground Warehouse and Industrial

Park, Inc. makes the following disclosures concerning parent companies, subsidiaries, and affiliates.

       1.      Interstate Underground Warehouse and Industrial Park, Inc. does not have a parent

corporation.

       2.      Interstate Underground Warehouse and Industrial Park, Inc. is not a publicly held

corporation or other publicly held entity.

       3.      Interstate Underground Warehouse and Industrial Park, Inc. does not have any

subsidiaries that are not wholly-owned by Interstate Underground Warehouse and Industrial Park,

Inc.

       4.      Interstate Underground Warehouse and Industrial Park, Inc. does not have any

affiliates that have issued shares to the public.




            Case 4:17-cv-00077-BP Document 9 Filed 03/01/17 Page 1 of 2
                                              Respectfully Submitted:

                                              MCDOWELL RICE SMITH & BUCHANAN P.C.

                                              By:  /s/ Donald G. Scott
                                                   Donald G. Scott #28192
                                                   605 W 47th Street, Suite 350
                                                   Kansas City, MO 64112
                                                   Telephone: (816) 960-7368
                                                   Telecopier: (816) 753-9996
                                                   dscott@mcdowellrice.com
                                              ATTORNEY FOR DEFENDANTS

                                CERTIFICATE OF MAILING

       The undersigned hereby certifies that on this 3rd day of March, 2017, the above and foregoing
was served via the Court’s ECF system upon counsel for Plaintiff and a copy was mailed, via U.S.
Mail, Postage prepaid, to: Andrew Muller, Stinson Leonard Street, LLP, 1201 Walnut St., Suite
2900, Kansas City, Missouri 64106.

                                                        /s/ Donald G. Scott
                                                     Attorney for Defendants




                                                 2


           Case 4:17-cv-00077-BP Document 9 Filed 03/01/17 Page 2 of 2
